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US. Department of Justice

 

United States Attorney
Southern District of New York

 

The Silvio J. Mallo Building
One Saint Andrew's Plaza
New York, New York 10007

February 24, 2021

BY ECE on
The Honorable P. Kevin Castel oT! laa. yw?
United States District Judge -

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Souther District of New York DEM re ; poe
Daniel Patrick Moynihan U.S. Courthouse fer fe @
500 Pearl Street ov ae. '
New York, New York 10007
Re: United States v. Virgil Griffith, 20 Cr. 15 (PKC) G b

Dear Judge Castel:

 

The Government respectfully submits this letter in accordance wifly the Court’s direction
at yesterday’s conference, At the conference, the Court instructed the Government to review the
transcript of the proceeding, which the Government has done. (See Feb. 23, 2021 Tr., attached as
Exhibit A.) Upon reviewing the transcript, and in light of the record of prior proceedings in this
case, the Government agrees to the stipulation (the “Stipulation”) proposed by the defense at the
coriference, as set forth below:

The Government will not present argument or evidence that the
information that Mr. Griffith allegedly provided and intended to
provide while in North Korea for the Cryptocurrency Conference in
April 2019 was beyond the then-existing capabilities and knowledge
of the government of the Democratic People’s Republic of Korea,
but may present evidence that certain individuals at the Conference
gained information new to them.

The Government is prepared to agree to this Stipulation in light of the colloquy at the
conference clarifying that the Stipulation will not foreclose the Government from introducing
otherwise admissible evidence, subject to any appropriate limiting instruction, of the defendant’s
statements, co-conspirator statements, or events at the Pyongyang conference. (See Feb. 23, 2021
Tr. at 16-19; id. at 4-5 (discussing examples of this type of evidence)). The Government further
expects that the parties will litigate the admissibility of particular pieces of evidence touching on
this subject through in limine motion practice, including evidence that the defense may seek to
offer.

 
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Hon. P. Kevin Castel

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Accordingly, in light of the Stipulation, the Government respectfully submits that the
defense’s motion to compel a search of files of various government agencies regarding the
cryptocurrency and blockchain capabilities of the DPRK should be denied as moot,

Respectfully submitted,

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United States Attorney

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